     Case 2:24-bk-14492-BR            Doc 3 Filed 06/06/24 Entered 06/06/24 13:12:40            Desc
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                                                                       FILED & ENTERED
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4                                                                            JUN 06 2024
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                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
6                                                                       BY vandenst DEPUTY CLERK


7                                  UNITED STATES BANKRUPTCY COURT

8                                   CENTRAL DISTRICT OF CALIFORNIA

9                                        LOS ANGELES DIVISION

10
     In re:                                         Case No.: 2:24-bk-14492-BR
11
     MANI.ME, INC.,                                 Chapter 11
12
                                                    Subchapter V
13
                                            Debtor. ORDER DISMISSING CASE
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15
               On June 5, 2024, the debtor filed a bankruptcy case without counsel. Pursuant to
16
17   Local Bankruptcy Rule 9011-2(a), a corporation, a partnership including a limited liability

18   partnership, a limited liability company, or any other unincorporated association, or a trust
19
     may not file a petition or otherwise appear without counsel in any case or proceeding.
20
               IT IS THEREFORE ORDERED that the above bankruptcy case is DISMISSED
21
22   WITHOUT PREJUDICE.

23   ###
24
25            Date: June 6, 2024

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